        Case 1:25-cv-00799-RCL           Document 15        Filed 03/26/25      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RFE/RL, INC.,

                        Plaintiff,

         v.
                                                         No. 25-cv-00799-RCL
 KARI LAKE, in her official capacity, et al.,

                        Defendants.



                          DEFENDANTS’ RESPONSE AND
                 NOTICE OF WITHDRAWAL OF GRANT TERMINATION

        On March 26, 2025, the United States Agency for Global Media (“USAGM”) issued the

attached letter, withdrawing the termination of Plaintiff’s grant that is the subject of this lawsuit.

See Exhibit A. Plaintiff’s grant is therefore back into effect. Id.

        Plaintiff has secured the primary relief—withdrawing the termination of its grant

agreement—that it requested in the complaint. Now that Plaintiff has received that relief,

Defendants’ position is that this matter is now moot. At a minimum, in light of the reinstatement

of Plaintiff’s grant, there is certainly no ongoing “certain and great” irreparable harm that could

justify injunctive relief. 1 Wis. Gas Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C.

Cir. 1985). Defendants therefore request that this Court deny Plaintiff’s motion for injunctive

relief as moot. Counsel for the Defendants are conferring with counsel for the Plaintiff as to next

steps in the case.




1 To the extent this Court determines that this notice is insufficient to resolve the pending motion,

Defendants stand on their previously filed brief opposing the motion for a temporary restraining
order for purposes of opposing the pending motion.
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      Case 1:25-cv-00799-RCL   Document 15     Filed 03/26/25    Page 2 of 4




Dated: March 26, 2025              Respectfully submitted,

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                                   Acting Assistant Attorney General

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                                   JOSEPH E. BORSON
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                                   /s/ Abigail Stout
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                                      2
Case 1:25-cv-00799-RCL   Document 15   Filed 03/26/25   Page 3 of 4




                EXHIBIT A




                               3
        Case 1:25-cv-00799-RCL              Document 15          Filed 03/26/25        Page 4 of 4




March 26, 2025

Dear Radio Free Europe/Radio Liberty (Stephen Capus | capuss@rferl.org),

The March 15, 2025 letter terminating your grant agreement FAIN: 1060-25-GO-00001 is hereby
rescinded. Grant agreement FAIN: 1060-25-GO-00001 is therefore back in effect.

This recission is without prejudice to USAGM’s authority to terminate the grant at a later date if USAGM were
to determine that such termination was appropriate under the applicable law.


Thank you,




Kari Lake
Senior Advisor to the Acting CEO with Authorities Delegated by Acting CEO
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